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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 JP MORGAN CHASE BANK, NATIONAL                    )
 ASSOCIATION                                       )
                     Plaintiff,                    )
                                                   )    Case No. 1:19-cv-05770
                      v.                           )
                                                   )    Judge Thomas M. Durkin
                                                   )
 ROBERT KOWALSKI, AKA ROBERT M.                    )
 KOWALSKI; UNKNOWN OWNERS AND                      )
 NON-RECORD CLAIMANTS; CHICAGO                     )
 TITLE LAND TRUST COMPANY s/i/i TO                 )
 BRIDGEVIEW BANK GROUP FKA                         )
 BRIDGEVIEW BANK AND TRUST                         )
 COMPANY, AS TRUSTEE UNDER TRUST                   )
 AGREEMENT DATED APRIL 24, 1993 AND                )
 KNOWN AS TRUST NUMBER 1-2228;                     )
 MARTHA PADILLA; FEDERAL DEPOSIT                   )
 INSURANCE CORPORATION, AS                         )
 RECEIVER FOR WASHINGTON FEDERAL                   )
 BANK FOR SAVINGS,                                 )
                                                   )
                               Defendants.         )


       FEDERAL DEPOSIT INSURANCE CORPORATION’S REPLY TO MARTHA
          PADILLA’S RESPONSE TO MOTION FOR SUMMARY JUDGMENT


         Defendant/Counter-Plaintiff, Federal Deposit Insurance Corporation, as receiver for

Washington Federal Bank for Savings (FDIC-R) for its Reply to the Response of Counter-

Defendant, Martha Padilla (“Padilla”) to FDIC-R’s Motion for Summary Judgment (“Motion”)

states as follows:

                                         Introduction

         FDIC-R seeks to foreclose upon its mortgage dated August 10, 1999 (“the Mortgage”) and

signed by the record owner, the land trustee of Bridgeview Bank & Trust Company trust no. 1-

2228 (“Bridgeview Trust No. 1-2228”), conveying a lien interest in the property at 1512 W. Polk,



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Chicago, Illinois (“the Polk property”). The Mortgage secures a note payable to Washington

Federal Bank for Savings (“WFB”) for $400,000, signed by Bridgeview Trust No. 1-2228 and

Robert Kowalski (“Kowalski”), one of the beneficiaries of the land trust. The Mortgage was

subsequently modified on three occasions, each time signed by Bridgeview Trust No. 1-2228, to

reflect the eventual increase in the principal indebtedness to $637,219.63. These mortgage

modifications were supported by note extensions or note modifications all signed by Kowalski.

The Note, as extended, matured on January 1, 2014.

         Padilla raises two affirmative defenses. First, she contests the validity of the Mortgage

because WFB made the loan apparently without obtaining a letter of direction and because the

mortgage loan was purportedly procured fraudulently. Padilla also claims that note extensions after

2003 were invalid since her signatures were forged and therefore, foreclosure of the Mortgage is

barred by the statute of limitations.

         FDIC-R’s Motion points out that a lender can rely on a representation in a mortgage that

the land trustee is authorized to sign the mortgage. No further inquiry or documentation is needed.

Further, as receiver, FDIC-R can rely on the loan documents to enforce them, unless an exception

for fraud in the factum can be proven. Padilla was not a signatory to the Note, only Kowalski,

whose signature she does not contest. The Mortgage and subsequent modifications were executed

by the land trustee. Padilla’s signatures on note extensions starting 4 years after the original loan

was made were superfluous since she was not personally obligated on the indebtedness.

Consequently, Padilla has no defense to enforcement of the Mortgage as an enforceable lien

against the Polk property. The fraud exception has not been established and as such, the defense

of fraud is barred against FDIC-R.




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         FDIC-R’s Motion further explained that the mortgage loan matured in January 2014. FDIC

was appointed as receiver in December 2017. The Counterclaim was filed in January 2020. The

statute of limitations is 6 years after appointment as receiver under FIRREA and 10 years from

default under Illinois law. Since FDIC-R can rely on the loan documents, the Counterclaim was

timely filed.

         Padilla’s arguments in her Response are based on several false premises, including the

following:

                     WFB knew of the fraud on Padilla.

                     Since the beneficial interest was held in tenants by the entirety, Padilla’s signature
                      was required to have a valid mortgage.

                     A letter of direction was required for WFB to have a valid mortgage.

                     Padilla’s signatures on note extensions were forged and therefore the extensions
                      were not valid.1

                     FDIC-R has not produced any documents that are part of a “normal mortgage loan
                      file.”

                     The exception of fraud in the factum has been shown.

         Padilla has the burden to prove her defenses. She relies upon inadmissible evidence— (i)

an audit report dated November 6, 2018 by the Office of Inspector General, Department of

Treasury, providing results of a material loss review to determine, inter alia, the causes of WFB’s

failure (“DOT report”); (ii) a federal indictment (neither the DOT report or Indictment mention

the Mortgage or the Polk property); and (iii) an expert report wherein, without factual support, the



1
  Padilla denies Kowalski had the authority to unilaterally execute the Note and Mortgage and to sign note
modifications and extensions after March 31, 2003. See Response to FDIC-R’s Statement of Facts Paragraphs 8, 13-
17, 19-23. Padilla denies that Bridgeview Bank had authority to execute the mortgage modifications. See Response to
FDIC-R’s Statement of Facts Paragraphs 18, 21. These denials did not include a specific reference to any part of the
admissible record to support the denial. As a result, each statement of fact is deemed admitted. See L.R. 56.1 (a), (b)
(3) (B); see also Malec v. Sanford, 191 F.R.D. 581-584 (N.D. Ill. 2000).

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expert is opining on legal conclusions without any reference to methodology. The Mortgage is

enforceable based upon the representations in the Mortgage. Whether Kowalski signed the Note

and note extensions and Padilla’s signatures, whether forged or not, are irrelevant; do not affect

the validity of the Mortgage or Note nor bar their enforcement. Summary judgment against Padilla

is warranted.

                                       Standard of Review

         “Summary judgment may only be defeated by pointing to admissible evidence in the

summary judgment record that creates a genuine issue of material fact”. United States v. 5443

Suffield Terrace, Skokie, Ill., 607 F. 3d 504, 510 (7th Cir. 2010). This Court should be mindful that

“[o]nly disputes over facts that might affect the outcome of the lawsuit under the governing law

will properly preclude the entry of summary judgment. Factual disputes that are irrelevant or

unnecessary will not be counted.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

Likewise, a “mere scintilla of evidence” is insufficient—on its own—to prove a genuine issue of

material fact. Natl Inspection & Repairs, Inc. v. George S. May Int'l Co., 600 F.3d 878, 882 (7th

Cir. 2010). As the Seventh Circuit has admonished, summary judgment is the “put up or shut up”

stage in litigation, Johnson v. Cambridge Industries, Inc., 325 F. 3d 892, 901 (7th Cir. 2003), when

a party opposing summary judgment must “wheel out all its artillery” to show there is a viable

case that should proceed to trial. Caisse Nationale de Credit Agricole v. CBI Indus., Inc., 90 F. 3d

1264, 1270 (7th Cir. 1996).

         In opposition to summary judgment, Padilla relies on irrelevant and inadmissible facts.

Padilla’s premises based on such facts must be disregarded. The Response fails to demonstrate

that there are genuine issues of material fact upon which this Court could properly find an

enforceable defense to defeat foreclosure of the Mortgage.



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                                                   Argument

         A.           There is No Admissible Evidence of Fraud to Invalidate the Mortgage

         Padilla admits that she must prove her affirmative defense since FDIC-R has established

its prima facie case. (Response, p. 5). She claims that she has produced “a deluge” of admissible

proof. Padilla is wrong.

         First, Padilla claims that FDIC-R cannot produce documents that are part of a “normal

mortgage loan file”, whatever that means, as somehow implying that this failure shows fraud.

(Response p. 6). However, FDIC-R did produce the 1999 mortgage loan file in response to

Padilla’s first document request. Those documents reveal, inter alia, a Uniform Residential Loan

Application, tax returns, an appraisal of the Property prior to granting the Mortgage, a 2-page

certification by Bridgeview Bank of the land trust agreement, a Loan Settlement Statement, ALTA

Statement, Property Insurance Declaration and title policy. (FDIC-R Add. Stmt of Facts, Para.

31).2 The fact that there is no letter of direction in this mound of documents does not mean the

transaction is invalid. Padilla does not reference any law to that effect. Rather, as pointed out in

the Motion (Motion, p. 6), a lender may rely on a land trustee’s representation that it has the power

and authority to execute an instrument where title to the real estate is the primary importance. See:

Gross v. Gross, 324 Ill App. 3d 872, 875 (1st Dist. 2001); see also MB Financial Bank, N.A. v.

Chicago Title Land Trust Co, 2019 Ill App (2d) 170659-U, attached as Exhibit A to Padilla’s

Response. The Mortgage contained language warranting the land trustee’s authority to execute the

Mortgage. No further verification was needed.




2
  FDIC-R is compelled to file An Additional Statement of Material Facts to correct the record because a) Padilla
misstates in her additional facts #29 that FDIC-R had no knowledge as to documents submitted for the mortgage loan
when FDIC-R produced those documents in discovery, (b) Padilla misstates that WFB did not obtain a certification
of the land trust agreement and c) Padilla submits an expert report without disclosing and producing the deposition
testimony which illuminates the purported inadmissible opinions in the report.

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         Also, Padilla tries to draw inferences of fraud from a payment history for the last 7 years

where no payments were made, the inability to produce Form 1099s, demands for payment

produced starting in 2018 after FDIC-R became receiver and WFB filing a motion to quash

subpoena in Padilla’s divorce case. (Response p. 7). But fraud must be proven with clear and

convincing evidence. Proimos v. Fair Automotive Repair, Inc., 808 F.2d 1273, 1276 (7th Cir.

1987). The Court must make reasonable inferences in Padilla’s favor; however, the Court cannot

do so when the factual foundation is wholly lacking. McGee v. Brae Transportation Inc., 1985

WL 4894 (N.D. Ill 1985). The above unrelated, incongruous events do not provide a proper factual

foundation to rise to the heightened level of proof of fraud.

         Second, Padilla cannot rely on the Fourth Superseding Indictment (“Indictment”) to

support her fraud claim. Padilla admits the Indictment does not mention the Property or the

Mortgage. (Response p. 7). Notwithstanding, indictments are not evidence. Scholes v. Afr. Enter.,

Inc. 854 F. Supp. 1315, 1324 (N.D. Ill. 1994). An indictment is conclusory, contains only hearsay

and is of no probative value. See United States v. Garcia, 562 F.2d 411, 417 (7th Cir. 1977). The

allegations made in the Indictment cannot be relied upon by the Court as evidence to support

Padilla’s opposition to the Motion.

         Third, Padilla cannot rely upon the DOT report. That report does not mention the Property

or the Mortgage. It is axiomatic that the first step in the summary judgment process is to ask

whether the evidentiary record establishes a genuine issue of material fact for trial. Liberty Lobby,

477 U.S. at 247–48. A fact is “material” if it “might affect the outcome of the suit” under applicable

substantive law. Id. This Court must determine and only consider facts it believes relevant to the

material issues. See Kibler v. U.S., 46 F. Supp. 3d 844 (C.D. Ill. 2014). Relevant evidence is

evidence that has any tendency to make the existence of a fact of consequence to the determination



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of the matter (i.e., “material fact”) more probable or less probable than it would be without the

evidence. .FRE 401. Generally, all relevant evidence is admissible, and irrelevant evidence is

inadmissible. FRE 402. The court may exclude relevant evidence if its probative value is

substantially outweighed by the danger of unfair prejudice. FRE 403.

         One, the DOT report should be excluded as unduly prejudicial because it is not sufficiently

probative as to fraud complained of by Padilla in this Mortgage transaction. See Eason v. Flemings

Cos., Inc., 4 F.3d 989 (5th Cir. 1993) (affirming district court’s exclusion of a General Accounting

Office report as the “report was a general attack on EEOC investigations . . . [and therefore it was]

reasonable . . . to conclude that the report was not sufficiently probative of the EEOC's

investigation of [the plaintiff's] charges.”) (emphasis in original); Wells Fargo Bank, N.A. v.

LaSalle Bank Nat. Ass'n, 2011 WL 6300948, at *3 (D. Nev. Dec. 15, 2011) (excluding an office

of the comptroller audit as irrelevant because the audit did not involve the MFG program at issue

and was unduly prejudicial by confusing the issues).

         Two, the DOT report should be excluded as it is a government report to which a future jury

would give undue weight. When the “impact of such unfair prejudice would further be enhanced

because the report bears the imprimatur of the federal government, leading the jury to grant these

statements undue weight,” it is proper to exclude such evidence. Yates v. Ford Motor Co., No.,

2015 WL 2189774, at *16 (E.D.N.C. May 11, 2015); see also United States v. Dukes, 242 F. App'x

37, 55 (4th Cir. 2007) (“It is . . . human nature to rely upon an opinion carrying the imprimatur of

an entire state.”); Gehl by Reed v. Soo Line R. Co., 967 F.2d 1204, 1208 (8th Cir. 1992) (affirming

district court’s exclusion of a Department of Transportation study under Rule 403 due to danger

that “government reports, even if not particularly probative, will nonetheless sway the jury by their

aura of special reliability and trustworthiness.”).



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         Hence, the DOT report cannot be admitted as evidence because its probative value is

substantially outweighed by a danger of implying to a future jury that a fraud occurred in this

particular mortgage transaction. Padilla has only presented irrelevant, inadmissible and

incongruous evidence. She does not have a viable defense of fraud to defeat enforcement of the

Mortgage.

         B.           FDIC-R Can Rely on the Representations Alone in the Mortgage in Making
                      the Loan

         Padilla disagrees with legal authority establishing that a lender can rely on representations

in a mortgage and not seek any further assurance of a land trustee’s authority to act. (Response p.

9). Padilla maintains that a lender must obtain a letter of direction before making a mortgage loan

on property held in a land trust. (Id.) Padilla conflates the duties of a land trustee with the duties

of a lender and does not refer to any legal authority to support her argument.

         1. Legal Authority Establishes that Lenders Can Rely on the Land Trustee’s
            Warranty

          Padilla argues the legal authority relied upon by FDIC-R in the Motion is inapplicable

because it is dicta and if a lender knows of alleged infirmities in a letter of direction and the

trustee’s authority to act, a bank is not entitled to rely on the trustee’s signature on a mortgage.

The decision in Gross, supra. was not dicta. In fact, the case attached by Padilla as Exhibit A, MB

Financial, supra., cited the same proposition. Most importantly, although making broad general

statements (Response p. 10), Padilla has made no evidentiary showing that WFB knew of

infirmities at the time the Mortgage was made. Padilla only infers the WFB knew because her

signature appeared well after-the-fact on note extensions and Kowalski and bank officials were

indicted for criminal conduct in the operations of WFB. As discussed, the Indictment is

inadmissible. Only reasonable inferences must be drawn in favor of Padilla and a signature on



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documents four years after the mortgage loan is made is not a reasonable inference that WFB knew

of infirmities when it made the loan.

         The only evidence, which Padilla fails to recognize, is the 2-page certified trust agreement

in the loan file that shows that Kowalski is the sole beneficiary of the land trust with the sole power

of direction. (FDIC-R Add. Stmt of Facts, Para. 31). No assignment of beneficial interest was in

the WFB file. Under the Land Trust Beneficial Disclosure Act, whoever makes an affirmation as

to the identification of beneficiaries in a land trust, shall be subject to perjury. 765 ILCS 405/3.

Padilla’s proffered expert witness admitted that WFB could rely on the certification as accurate.

(FDIC-R Add. Stmt. of Facts Para. 39). Thus, a reasonable inference is that the land trustee was

making a truthful disclosure and based on that disclosure, WFB knew that the sole beneficiary and

holder of the power of direction authorized the mortgage loan by signing the Note.

         Moreover, Padilla misconstrues the purpose of a letter of direction in this context. While

Padilla focuses on ensuring a land trustee has proper authority to act (Response p. 9), this Motion

is about a lender’s conduct. The land trustee’s duty is to ensure it has the authority to act. Where

the lender is concerned that a land trustee has the power and authority to execute the mortgage, the

lender may rely upon the warranties of the land trustee in the form of language in a mortgage

(Gross, supra.). Indeed, the hypothetical set out I Padilla’s Response the degree to which her

argument has conflated the issues. Padilla argues that unless are required to possess a letter of

direction, “anyone can walk into a bank and claim to be a land trustee, swear such is true on the

mortgage document and then exit the bank with $500,000 in a mortgage and leave the unknowing

landowner-who has never heard of the charlatan—holding the bag. (Response p. 9) Of course,

here, Bridgeview Trust 1-2228 was the title holder of the Property, and the true land trustee did

sign the mortgage. The absurd result Padilla’s Response offers merely emphasizes that in the



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present case, the Mortgage was signed by the undisputed title owner. The Court should decline

Padilla’s request to make new law requiring lenders to possess letters of direction when making

loans secured by property held in a land trust.


         2. Padilla’s Proffered Expert Report is Inadmissible and Contradicts Legal
            Authority.

         Padilla contends that it is standard bank practice to require a certified copy of the land trust

agreement to verify who holds the power of direction. (Response p. 10). Whether or not that

practice is correct, that certified land trust agreement was in the possession of WFB. (FDIC-R Add.

Stmt of Facts, Para. 31.) Padilla goes further to maintain that a letter of direction is required to

make a mortgage valid. (Response p. 11). Padilla’s sole support for that proposition is a purported

expert opinion by Randy Hughes. (Id.) As FDIC-R argues in its motion to strike, Padilla fails to

support this statement of fact with admissible evidence. The opinion is inadmissible under FRE.

702 and Fed.R.Civ.P. 26 (a) (2) because it fails to reference methodology and the data considered.

Remarkably, Padilla’s proffered expert contradicts the purported opinion in the Report by

admitting at his deposition: (i) there is no law to support his opinion that a power of direction is

required to render a mortgage enforceable and (ii) there are “so many different ways” of entering

into a loan with land trustees that “it’s hard to say” there is a uniform practice. (FDIC-R Add.

Stmt of Facts Para. 32, 41).

         Padilla cannot assure herself of a trial merely by trotting out in response to a motion for

summary judgment her expert’s naked conclusion about an ultimate issue—“Because no letter of

direction has been produced for either the mortgage, …the mortgage sought to be foreclosed by

the FDIC are invalid and cannot be enforced against Padilla.” (Padilla Add. Stmt of Facts Para 26).




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Padilla has the burden to establish an expert’s report’s admissibility. Lewis v. CITGO Petroleum

Corp., 561 F. 3d 698, 706 (7th Cir. 2009). She has not and cannot meet that burden.

         As stated, admissibility of expert’s opinions is governed by FRE 702 and Fed. R. Civ. P.

26 (a) (2). Expert testimony is admissible under FRE 702 if the technical or specialized knowledge

of the expert “will assist the trier of fact to understand the evidence or to determine a fact in issue.”

Kumho Tire Co. v, Carmichael, 526 U.S. 137, 147, 119 S.Ct. 1167, 143 L.Ed. 2d 238 (1999).

“It is well-established that expert testimony cannot be based on subjective belief or speculation.

Zenith Elecs. Corp. v. WH-TV Broad Corp., 395 F.3d 416, 418 (7th Cir. 2005). “In order for an

‘expert report to create a genuine issue of fact, it must provide not merely…conclusions, but the

basis for the conclusions.’” Bourke v. Conger, 639 F.3d 344, 348 (7th Cir. 2010). The Seventh

Circuit has repeatedly admonished litigants: “An expert who supplies nothing but a bottom line

supplies nothing of value to the judicial process”. Mid-State Fertilizer Co. v. Exchange Nat’l Bank,

877 F.2d 1333, 1339 (7th Cir. 1989).

         A bottom line is all the proffered expert report offers. The proffered report fails to reference

any methodology used to afford this Court the ability to access the reliability and soundness of his

opinion. It is not clear what analysis was made. The proffered report simply renders an opinion

without reviewing the entire bank loan file. (FDIC-R Add. Stmt of Facts, Para 34). The proffered

expert has never been involved in a situation where a bank solely relies upon the language in a

mortgage. (FDIC-R Add. Stmt. of Facts, Para. 42); Int'l Surplus Lines Ins. Co. v. Fireman’s Fund

Ins. Co., 1992 WL 22223, at *3 (N.D. Ill. 1992) (“An expert cannot testify regarding the meaning

that a trade gives a contract provision if he has never seen such a provision.”). The value to the

trier of fact of a hired expert's opinion is highly suspect when the party hiring him has put words

in his mouth-or in this case, in his report, leaving the proffered expert, in essence, a mere puppet.



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          Moreover, the Federal Rules of Evidence prohibit testimony concerning legal questions.

Good Shepherd Manor Found., Inc. v. City of Momence, 323 F.3d 557, 564 (7th Cir. 2003) (“expert

testimony as to legal conclusions that will determine the outcome of the case is inadmissible”).

Surprisingly, the proffered expert admits he is offering a legal conclusion. (FDIC-R Add. Stmt of

Facts, Para 43).

         In addition, Rule 26 (a) (2) requires a written report that confirms the basis and reasons for

an opinion and the data considered. The proffered conclusory report fails to meet the standards for

disclosure set out in Rule 26 (a) (2). Thus, the report is inadmissible under Fed.R.Evid. 702 and

Rule 26 (a) (2).3

         Padilla presents no genuine material facts to dispute that FDIC-R can rely on the language

in the Mortgage to support enforcement.



         C.           Padilla Cannot Show an Exception to the Fraud Exclusion to Allow Her
                      Defense to Proceed

         Padilla argues her affirmative defense is not barred by D’Oench, Duhme & Co. v. FDIC,

315 U.S. 447 (1942) or 12. U.S.C. Section 1823 (e) because she has established fraud in the factum

by: a) the Indictment of WFB officials for making loans without expecting repayment while

making it appear the loans were performing through note extensions; and b) the forgery of her

signatures on note extensions. (Response p. 12, 13). Padilla relies upon a Texas state court case,

Commonwealth Land Title Ins. Co. v. Nelson, 889 S.W. 2d 312 (Tex App. 1994), to purportedly




3
 FDIC-R has filed a motion to strike the expert report pursuant to Federal Rule of Civil Procedure 26(a)(2)(B) and
Federal Rule of Evidence 702. The opinions are not sufficiently reliable. They lack the necessary link between the
conclusions reached and a recognized underlying scientific method. Hence, the proffered report is inadmissible
evidence.

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establish that since her signature was forged, the note extensions are void ab initio and therefore,

Padilla can assert her defense against FDIC-R.

         Padilla’s reliance on Nelson is misplaced. There, in connection with the sale of real estate,

several documents were forged, including a subordination agreement. The Nelson court held that

because the subordination agreement was forged when the sale took place, the failed bank that

acquired title did not get a first lien and thus the forgery claim could not be defeated by D’Oench

or Section 1823 (e) because they cannot revive a void instrument. In this matter, the alleged forgery

and initial Mortgage and Note transaction took place at different times. The subsequent alleged

forged note extensions cannot affect the legality of the prior loan transaction where the signatures

of the signing parties are not contested. The Mortgage and Note are not void instruments.

         Moreover, Padilla presents no authority that her purported signature on the note extensions

render those instruments, together with the mortgage modification, void when Kowalski’s and the

land trustees’ signatures are genuine and only their signatures are necessary to extend the Note and

modify the Mortgage. As FDIC-R argued in its Motion (Motion, p. 9), the Padilla signatures are

superfluous. See also: General Electric Capital Corporation v. Inacomp Financial Services Inc.,

1996 WL 277960 (N.D. Ill. 1996) (“a single forgery would not invalidate the lease since as to

Shimberg and Advanced, the contract remained valid”); Midwest Finance and Loan Co. v.

Gazdecki, 1934 WL 1779 (OH App. 1934) (“the forgery of a part of a signature on a promissory

note does not invalidate the instrument as to the genuine signatures, in the hands of a holder in due

course.”).

         Thus, the affirmative defense of fraud is barred by D’Oench and Section 1823 (e). No

exception applies.




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         D.           Padilla’s Signature on The Mortgage Was Not Required

         Padilla maintains that her signature is mandated since the beneficial interest was held as

tenants by the entirety. (Response p. 14). Padilla relies upon 735 ILCS 5/12-112. However, she

misstates the statute in her Response by omitting the complete preamble when quoting the statute.

The statute correctly reads: “Any real property, any beneficial interest in a land trust, or any interest

in real property held in a revocable inter vivos trust or revocable inter vivos trusts created for

estate planning purposes…” (Emphasis added for missing portion of statute). An inter vivos trust

is defined as a transfer of property during the lifetime of the settlor. Kahn v. First Nat. Bank of

Chicago, 216 Ill. App. 3d 272, 276, n.1 (1st Dist. 1991). Padilla fails to show that this beneficial

interest was held in an inter vivos trust and thus her reliance on Section 12-112 is incorrect.

         Padilla also inaccurately states that the Mortgage was signed by Kowalski. (Response p.

14). Rather, it was signed by the land trustee. The certified copy of the land trust agreement

provides that the trustee may make mortgages or trust deeds. (FDIC-R Add. Stmt of Facts, Para.

31). Padilla’s signature was not required by the land trust agreement. “A beneficiary who chooses

the advantage of the land trust form of ownership may not also act contrary to the terms of the

agreement as if he had legal and equitable title when it suits his convenience.” Department of

Conservation v. Franzen, 43 Ill. App. 3d 374, 380 (1st Dist. 1976). Padilla’s argument fails by the

terms of the land trust agreement.

         E.            FDIC-R’s Counterclaim Is Not Barred by the Statute of Limitations

         Padilla’s effort to assert the statute of limitations is premised on an argument that the note

extensions are void because her signature was forged. (Response p. 15). Yet, Padilla does not

contest that Kowalski’s signature was valid or that he solely signed the Note. As discussed in the




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Motion, Padilla’s signature was unnecessary. So long as Kowalski agreed to the note extensions,

the maturity date was extended.

         As set forth in the Motion (Motion, p. 9), under 12 U.S.C. Section 1821(d)(14)(A), FDIC-

R has six years after appointment as receiver to file a mortgage foreclosure claim if the limitations

period has not yet expired. FDIC-R can rely on the note extensions in determining when it can file

suit. The mortgage loan matured on January 1, 2014. There is 10 years to file a mortgage

foreclosure under Illinois law. See 735 ILCS 5/13-206. FDIC became receiver on December 15,

2017. The counterclaim to foreclose was filed on January 8, 2020, well within the 6-year limitation

period under Section 1821(d)(14)(A) and the 10-year limitation period under Illinois law. A

limitation defense does not apply here.

                                            Conclusion

         Padilla has not met her burden of presenting admissible evidence to support her defenses.

As such, FDIC-R is entitled to summary judgment on the two affirmative defenses as a matter of

law.

Dated: January 5, 2022                                Respectfully submitted,

                                                      FEDERAL DEPOSIT INSURANCE
                                                      CORPORATION, as Receiver for
                                                      Washington Federal Bank for Savings,
                                                      Defendant/Counter-Plaintiff,
                                                      By: /s/ Eric S. Rein
                                                              One of Its Attorneys

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                                 CERTIFICATE OF SERVICE

         The undersigned attorney of record hereby certifies that he caused a true and correct copy

of the foregoing FDIC-R’S REPLY TO MARTHA PADILLA’S RESPONSE TO MOTION

FOR SUMMARY JUDGMENT to be served upon other counsel of record listed below by

electronic mail and by placing same in a properly addressed envelope, first-class postage prepaid,

and by depositing same in the U.S. Mail located at 500 West Madison Street, Chicago, Illinois

60661 on January 5, 2022, addressed as follows:


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